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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60125-CIV-SCOLA/SNOW

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

  Plaintiff,

  v.

  CIRCUITRONIX LLC,

  Defendant.
  ____________________________________/

                 DEFENDANT CIRCUITRONIX, LLC’S MOTION TO DISMISS

          This case should be dismissed because the Plaintiff, Jiangmen Benlida Printed Circuit Co.,

  Ltd. (“Benlida”), did not mediate this dispute before filing suit, as required by the contract between

  the parties.

          Benlida and the Defendant, Circuitronix LLC (“CTX”), are parties to a written contract

  governed by Florida law, the Standard Manufacturing And Representation Agreement

  (“Manufacturing Agreement”).1 Section 10.4 of the Manufacturing Agreement requires the parties

  to submit any controversy “aris[ing] out of or concerning the performance of this Agreement” to

  “mediation with an independent mediator” prior to litigation. Here, Benlida failed to mediate its

  claims prior to filing this case, and rejected good-faith efforts by CTX to mediate, as required by

  the Manufacturing Agreement.




  1 The Manufacturing Agreement is Exhibit 1 to the contemporaneously filed supporting
  declaration of Chauncey D. Cole IV. The Manufacturing Agreement and other exhibits to the
  declaration are cited hereafter as “[Ex. __].”
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             In addition, Benlida failed to join all required parties pursuant to Rule 19 of the Federal

  Rules of Civil Procedure. In particular, Benlida failed to join two foreign companies that are

  parties to the Manufacturing Agreement, ROK Printed Circuit Co., Ltd. (“ROK”) and Circuitronix

  Hong Kong, Ltd. (“CTX-HK”). Despite having an essential role in this dispute, these foreign

  entities were omitted from Benlida’s pleadings in an apparent effort to improperly invoke the

  Court’s subject matter jurisdiction, despite the lack of complete diversity among the required

  parties.

             Accordingly, Defendant, Circuitronix LLC (“CTX”), respectfully requests that the Court

  dismiss this action pursuant to Rule 12(b) of the Federal Rules of Civil Procedure.

                                       FACTUAL BACKGROUND

      1. Background

             Based in Fort Lauderdale, Florida, CTX specializes in the manufacture and distribution of

  printed circuit boards (“PCBs”), electrical components used in a variety of products, including

  automobiles, lighting fixtures, and security systems.2 Benlida is one of several Chinese

  manufacturers CTX has contracted or partnered with over the years for the manufacture of its

  PCBs.

             On March 1, 2012, Benlida and its foreign affiliate, ROK, entered into a written contract

  with CTX for the manufacture of PCBs, the Manufacturing Agreement. [Ex. 1].3 Among other

  things, the Manufacturing Agreement provides covenants not to compete and exclusivity

  protections for CTX, as well as terms concerning sales and marketing, quality, pricing, payment,



  2CTX also engages in additional lines of business that include plastic injection parts, mechanical
  and electronic components, electronic manufacturing services, and contract manufacturing.
  3The parties subsequently entered into a Letter Agreement that added CTX-HK as an additional
  party to the Manufacturing Agreement. [Ex. 2].
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  delivery, and lead-time. [Ex. 1]. The Manufacturing Agreement also contains a section entitled

  “Dispute Resolution” that requires the parties to follow certain dispute resolution procedures prior

  to litigation. [Ex. 1 at pg. 7, § 10.4].

          In the ensuing years following execution of the Manufacturing Agreement, the parties have

  conducted substantial business together, with payments from CTX to Benlida in excess of $70

  million as of early 2021.

      2. Benlida’s False And Constantly Shifting Claims

          As early as 2019, Benlida began making a series of false and contradictory claims against

  CTX, alleging that CTX owed Benlida money related to their ongoing business together. Despite

  CTX’s best efforts to engage Benlida in good faith discussions to address its concerns, Benlida

  persisted in demanding additional payments from CTX without offering any specific explanation

  of justification for its position. In addition, Benlida’s position constantly shifted and changed,

  seemingly with every discussion.

          As discussions between CTX and Benlida continued, at various times Benlida would assert

  that it was owed sums ranging from approximately $1 million to $2.3 million, without providing

  any substantive basis for its shifting and contradictory claims. Throughout these discussions, CTX

  consistently pointed out the fact that all commercial records, banking records, as well as regular

  correspondence and communication between the companies, indicated that CTX had not only fully

  paid Benlida pursuant to the terms of the Manufacturing Agreement, but CTX maintained a

  significant credit balance due to overpayments that had accumulated over the course of the

  companies’ relationship.4




  4 CTX further communicated that its position was even stronger than the base payment balance, in
  light of additional accumulated credits due to contractual lead-time violations by Benlida.
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          By September 2019, both parties had engaged outside counsel to discuss dispute resolution,

  including the possibility of an agreement to submit Benlida’s claims to binding arbitration. Those

  discussions did not produce any agreement or resolution, and despite repeated invitations by CTX

  the dispute was never submitted to mediation. Perhaps the biggest obstacle to any resolution

  continued to be Benlida’s inability to articulate the basis for its claims, or even settle on the specific

  amount of the claims. Nonetheless, the parties continued to conduct business together throughout

  2019 and 2020.

          Finally, on October 21, 2020, after undersigned counsel for CTX requested that Benlida

  set out its claim in writing, Benlida provided a draft complaint that asserted – for the first time –

  that Benlida was owed approximately $5.3 million by CTX due to a large number of unpaid

  invoices from “June 2019 through January 2020.” [Ex. 3 at ¶¶ 194-195].

          CTX quickly determined that this claim was flatly contrary to the facts, and easily refuted

  by the evidence. CTX assembled readily available evidence, including bank records showing

  regular monthly wire transfer payments to Benlida, as well as monthly reconciliation statements

  provided by CTX to Benlida, tying each of these payments to the specific invoices identified in

  Benlida’s draft complaint. See, e.g., [Ex. 4] (showing monthly payment from CTX of $1.2 million

  against monthly invoices from Benlida totaling $840,661.50). The monthly statements provided

  to Benlida by CTX not only show that CTX paid the invoices, but also that CTX accumulated

  overpayments that resulted in a substantial credit balance with Benlida. All of this information

  was then offered to Benlida’s counsel.

          After a period of silence, on January 8, 2021, Benlida provided a revised draft complaint,

  similarly asserting that CTX had failed to pay a large number of invoices, but now claiming that

  the amount owed was actually nearly $13.7 million, a dramatic increase of approximately $8.4



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  million from the claim described just two months earlier. [Ex. 5] The new draft also included

  claims related to over 170 invoices issued to CTX-HK, rather than CTX. [Ex. 5 at ¶¶ 259-429].

          Once again, CTX quickly communicated to Benlida that the claims were contrary to the

  facts and the evidence, particularly wire transfer records, bank statements, and monthly

  reconciliations available to both companies. CTX also communicated its view that Benlida

  suddenly increasing its claim by over $8 million contributed to the strong impression that the claim

  is arbitrary and unjustified. Nonetheless, CTX invited any further dialogue that would be helpful

  in achieving a resolution. [Ex. 6].

      3. Section 10.4 of the Manufacturing Agreement – Dispute Resolution

          Section 10.4 of the Manufacturing Agreement requires the parties to follow dispute

  resolution procedures prior to filing suit. The dispute resolution provision applies to “any

  controversy … aris[ing] out of or concerning the performance of this Agreement,” and requires

  that any such controvery “shall” be submitted to “mediation with an independent mediator” prior

  to litigation. [Ex. 1 at pg. 7, § 10.4].

          The full text of Section 10.4 of the Manufacturing Agreement states as follows:

          10.4    Dispute Resolution

                  (a) In the spirit of continued cooperation, the parties intend to and hereby establish
                      the following dispute resolution procedure to be utilized in the event any
                      controversy should arise out of or concerning the performance of this
                      Agreement.

                  (b) It is the intent of the parties that any dispute be resolved informally and
                      promptly through good faith negotiation between Manufacturer and
                      Circuitronix. Either party may initiate negotiation proceedings by written notice
                      to the other party setting forth the particulars of the dispute. The parties agree
                      to meet in good faith to jointly define the scope and a method to remedy the
                      dispute. If these proceedings are not productive of a resolution, then senior
                      management of Manufacturer and Circuitronix are authorized to and will meet
                      personally to confer in a bona fide attempt to resolve the matter.

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                    (c) Should any disputes remain existent between the parties after completion of the
                        two-step resolution process set forth above, then the parties shall promptly
                        submit any dispute to mediation with an independent mediator. In the event
                        mediation is not successful in resolving the dispute, the parties may agree to
                        submit the dispute to arbitration as provided by their respective jurisdiction.

  [Ex. 1 at pg. 7, § 10.4].

      4. Benlida Files Suit Without Mediation

             Benlida filed the present civil action on January 19, 2021. [DE 1]. The Court dismissed

  Benlida’s original complaint, as well as its First Amended Complaint, sua sponte, based on

  pleading deficiencies identified by the Court, particularly Benlida’s failure to properly allege the

  Court’s subject matter jurisdiction. [DE 4 and 7]. Benlida filed a Second Amended Complaint

  (“SAC”) on February 1, 2021. [DE 9]. The SAC purports to assert claims for Breach Of Contract

  and Account Stated against CTX, and claims damages in the principal amount of $13,655,335.93.

  [DE 9 at ¶¶ 435, 443, 455].

             At no time prior to the filing of this action, or the SAC, did Benlida submit this dispute to

  mediation with an independent mediator, as required by Section 10.4 of the Manufacturing

  Agreement. Benlida also rejected CTX’s good faith invitations to mediate this dispute prior to the

  parties engaging in litigation. E.g., [Ex. 7 at 1].

             In addition, despite asserting claims related to more than 170 invoices directed to CTX-

  HK, Benlida’s pleadings failed to name either CTX-HK or Benlida’s foreign affiliate, ROK, as

  parties.

                                               ARGUMENT

             1. Benlida Failed To Mediate As Required By The Manufacturing Agreement

             A contract that requires mediation as a condition precedent to litigation requires dismissal

  of the action if the required mediation has not been conducted. Mullales v. Aspen Am. Ins. Co.,

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  No. 18-23661-CIV, 2018 WL 6270974, at *2 (S.D. Fla. Nov. 30, 2018). Under Florida law, when

  “the parties’ agreement requires mediation as a condition precedent to arbitration or litigation, the

  complaint must be dismissed.” 3-J Hosp., LLC v. Big Time Design, Inc., No. 09-61077-CIV-

  MARRA, 2009 WL 3586830, at *2 (S.D. Fla. Oct. 27, 2009) (citing Kemiron Atlantic, Inc. v.

  Aguakem Intern., Inc., 290 F.3d 1287 (11th Cir. 2002) (holding that plaintiff’s failure to request

  mediation, which was a condition precedent to arbitration under the parties’ contract, precluded

  enforcement of arbitration under the contract)); see also Woods v. Holy Cross Hospital, 591 F.2d

  1164 (5th Cir. 1979) (dismissing medical malpractice action where mediation was a condition

  precedent to filing suit under state law). 5

          This case should be dismissed because Benlida, did not mediate this dispute before filing

  suit, as required by the contract between the parties. Section 10.4 of the Manufacturing Agreement

  requires the parties to submit any dispute “aris[ing] out of or concerning the performance of this

  Agreement” to “mediation with an independent mediator” prior to litigation. Section 10.4(c)

  unambiguously states that “Should any disputes remain existent between the parties after

  completion of the two-step resolution process set forth above, then the parties shall promptly

  submit any dispute to mediation with an independent mediator.” [Ex. 1 at pg. 7, § 10.4(c)]

  (emphasis added). Here, Benlida failed to mediate its claims prior to filing this case, and rejected

  good-faith efforts by CTX to conduct mediation, as required by the dispute resolution procedures

  set forth in the Manufacturing Agreement.6



  5In Bonner v. City of Pritchard, 661 F.2d 1206, 1207 & 1209 (11th Cir.1981) (en banc), the
  Eleventh Circuit adopted as binding precedent the decisions of the Fifth Circuit rendered prior to
  October 1, 1981.

  6
   We note that although Benlida failed to specifically identify the Manufacturing Agreement in the
  SAC, or attach the contract to its pleading, the Court may consider the Manufacturing Agreement
  in ruling on this motion to dismiss without converting the motion into one for summary judgment
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         By prematurely filing this lawsuit without first attempting to mediate, Benlida has deprived

  CTX of the benefit of its bargain and prematurely burdened the Court and the parties. Accordingly,

  CTX respectfully requests that the case be dismissed. Mullales, 2018 WL 6270974, at *2; see also

  3-J Hosp., LLC, 2009 WL 3586830, at *2.

         2. Benlida Failed To Join All Required Parties Pursuant To Rule 19

         Pursuant to Rule 12(b)(7) a court must dismiss a complaint if the plaintiff has failed to join

  a necessary and indispensable party under Rule 19. “When analyzing motions to dismiss premised

  upon the failure to join a required party, courts in the Eleventh Circuit utilize a two-step analysis.”

  Davis v. Raymond, No. 12-22578-CIV, 2013 WL 2047424, at *3 (S.D. Fla. May 14, 2013). “First,

  they decide whether an absent party is required in the case under Rule 19.” Int'l Importers, Inc. v.

  Int'l Spirits & Wines, LLC, No. 10-61856-CIV, 2011 WL 7807548, at *2 (S.D. Fla. July 26, 2011)

  (citing Molinos Valle del Cibao v. Lama, 633 F.3d 1330, 1344 (11th Cir.2011)). “If the party is

  a required party, the court must order that the person be made a party. Second, if the parties cannot

  join the new party, the court must consider if, ‘in equity and good conscience, the action should

  proceed among the existing parties or should be dismissed.’ When making this decision, courts

  look at the pleadings and affidavits as well as evidence introduced by the parties. Int'l Importers,

  Inc., 2011 WL 7807548, at *2 (citations omitted).

         “The first part of the test might be more clearly understood as involving two questions:

  whether the non-party should be joined and whether joinder is feasible. Where both a nonparty

  should be joined and joinder is feasible, the nonparty is ‘required’ or ‘necessary’ but not




  because the Manufacturing Agreement is (1) central to the plaintiff’s claim and (2) its authenticity
  is undisputed. Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (citing Horsley v. Feldt, 304
  F.3d 1125, 1134 (11th Cir.2002); see also Darrin Cupo, D.M.D, P.A. v. Orthodontic Centers of
  Am., Inc., No. 07-23020-CIV, 2008 WL 11333239, at *4 (S.D. Fla. Jan. 15, 2008).
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  necessarily ‘indispensable.’ If so, then pursuant to Rule 19(a)(2), the Court must order that the

  person be made a party, rather than dismiss. Thus, dismissal for failure to join an indispensable

  party is only appropriate where the nonparty cannot be made a party.” Davis, 2013 WL 2047424,

  at *4.

               a. ROK And CTX-HK Are Required Parties

           Rule 19(a) requires the joinder of a person “who is subject to service of process and whose

  joinder will not deprive the court of subject-matter jurisdiction” if either:

           (A) in that person’s absence, the court cannot accord complete relief among existing
               parties; or

           (B) that person claims an interest relating to the subject of the action and is so
               situated that disposing of the action in the person’s absence may:
                         (i)     as a practical matter impair or impede the person’s ability to
                                 protect the interest; or
                         (ii)    leave an existing party subject to a substantial risk of incurring
                                 double, multiple, or otherwise inconsistent obligations
                                 because of the interest.

  Davis, 2013 WL 2047424, at *4 (quoting Fed. R Civ. P. 19(a)(1)).

           Here, all of the factors identified in Rule 19(a) support a finding that both ROK and CTX-

  HK are required parties. Both ROK and CTX-HK are parties to the Manufacturing Agreement

  and claim an interest in the subject matter of this action. In particular, the absence of ROK and

  CTX-HK from this case leaves both CTX and Benlida exposed to a substantial risk of incurring

  double, multiple, or otherwise inconsistent obligations.

           For example, in the SAC, Benlida purports to assert claims against CTX based on over 170

  invoices issued to CTX-HK, not CTX. [DE 9 at ¶¶ 259-429]; see also [Ex. 8]. It is well settled

  that corporations, even closely related affiliate corporations, are not interchangeably liable for each

  other’s debts and obligations. See Beck v. Royale Harbour of N. Palm Beach Condo. Ass'n, Inc.,

  No. 14-80611-CIV, 2014 WL 4782962, at *3 (S.D. Fla. Sept. 3, 2014) (“It is a general principle

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   of corporate law deeply ingrained in our economic and legal systems that a parent corporation (so-

   called because of control through ownership of another corporation’s stock) is not liable for the

   acts of its subsidiaries.”). However, even if CTX defeats these claims on the merits in this case,

   either Benlida or ROK could potentially attempt a second bite at the apple by seeking a recovery

   from CTX-HK in a subsequent lawsuit. Further, in the unlikely event that CTX is judged liable

   for these amounts in this case, Benlida or its affiliate, ROK, could seek a second windfall recovery

   on the same invoices from CTX-HK in a subsequent action. If the evidence in this case establishes

   that neither CTX or CTX-HK are liable to Benlida or ROK, without CTX-HK as a party to the

   action, Benlida or ROK could later seek a do-over in a subsequent action against CTX-HK.

           Similarly, if the evidence in this case shows that money is owed by ROK to either CTX or

   CTX-HK, then without ROK as a party in this case, CTX and/or CTX-HK would be required to

   conduct a separate action against ROK, and ROK would have a second bite at the apple, with the

   potential for inconsistent results.

           In addition, “a corporation does not have standing to assert claims belonging to a related

   or closely affiliated corporation simply because their businesses are intertwined.” Titan5 Holdings

   Ltd. v. Majuda Corp., No. 13-80130-CIV, 2013 WL 1664516, at *2 (S.D. Fla. Apr. 17, 2013)

   (quoting Elandia Int’l, Inc. v. Koy, No. 09-20588-CIV, 2010 WL 2179770, at *6 (S.D. Fla. Feb.

   22, 2010)). Thus, without ROK and CTX-HK present in this action, there is the potential for either

   Benlida or CTX to obtain judgment on claims that properly belong to the absent corporate parties.

           Finally, the entire controversy concerning the Manufacturing Agreement simply cannot be

   resolved completely among the existing parties, Benlida and CTX, without the other two parties

   to the Manufacturing Agreement, ROK and CTX-HK, present in the case. ROK and CTX-HK

   would not necessarily be bound by the results of the case, and could continue to assert claims and



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   rights inconsistent with those results. For all of these reasons, both ROK and CTX-HK are required

   parties pursuant to Rule 19.

              b. CTX-HK Cannot Be Joined And The Case Should Be Dismissed

          It appears that Benlida’s affiliate, ROK, can be joined in this action without destroying the

   Court’s subject matter jurisdiction, which is founded upon allegations of diversity of citizenship.

   However, CTX-HK, a Hong Kong corporation, cannot be joined in this action without destroying

   complete diversity and depriving the Court of subject matter jurisdiction. Impuls I.D. Int'l, S.L. v.

   Psion-Teklogix, Inc., 234 F. Supp. 2d 1267, 1273 (S.D. Fla. 2002) (foreign corporations on both

   sides of the cause of action violates the requirement of complete diversity and deprives the court

   of subject matter jurisdiction founded on diversity of citizenship); see also Ruhrgas AG v.

   Marathon Oil Co., 526 U.S. 574, 580 at n. 2 (1999)(“The foreign citizenship of defendant Ruhrgas,

   a German corporation, and plaintiff Norge, a Norwegian corporation, rendered diversity

   incomplete”). Indeed, it appears that Benlida intentionally failed to add CTX-HK as a party in

   order to avoid the requirement of complete diversity and improperly invoke the Court’s subject

   matter jurisdiction. On two prior occasions, the Court, on its own initiative, dismissed Benlida’s

   complaint for failure to properly allege subject matter jurisdiction. [DE 4 and 7]. Benlida may

   also have perceived some form of tactical advantage if it were permitted to impose the alleged

   debts and obligations of an absent CTX-HK onto its US affiliate, CTX.

          Because joinder of CTX-HK in this action is not feasible, the Court must consider whether

   “in equity and good conscience, the action should proceed among the existing parties or should be

   dismissed.” Int'l Importers, Inc., 2011 WL 7807548, at *2 (quoting Rule 19(b)). “Rule 19(b)

   provides a list of factors the Court should consider in making this inquiry. The factors are: (1) the

   extent to which a judgment rendered in the person’s absence might prejudice that person or the



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   existing parties; (2) the extent to which any prejudice could be lessened or avoided by protective

   provisions in the judgment, shaping the relief, or other measures; (3) whether a judgment rendered

   in the person’s absence would be adequate and (4) whether the plaintiff would have an adequate

   remedy if the action were dismissed for non joinder.” Id. at *10 (quoting Rule 19(b)). These four

   factors are not exclusive. Republic of Philippines v. Pimentel, 553 U.S. 851, 862 (2008).

           Each of the factors set forth in Rule 19(b) strongly weighs in favor of dismissal of the case.

   For the same reasons noted above, a judgment rendered in the absence of CTX-HK would likely

   prejudice CTX-HK or the existing parties, including both CTX and Benlida. Clearly, any

   judgment indicating that CTX-HK is liable to Benlida would present the danger of prejudice to

   CTX-HK. Yet, even if both CTX and CTX-HK are judged not liable to Benlida, CTX-HK may

   face the real possibility of a second lawsuit targeting it with substantially the same claims.

   Similarly, in the absence of CTX-HK, there is a risk of a judgment against CTX for obligations

   properly attributable to CTX-HK, such as for the more than 170 CTX-HK invoices cited by

   Benlida in the SAC. [DE 9 at ¶¶ 259-429]; see also [Ex. 8]. There does not appear to be any extent

   to which the prejudice could be lessened or avoided by protective provisions in the judgment,

   shaping the relief, or other measures.

           Further, any judgment rendered in the absence of CTX-HK would not be adequate because

   it would not achieve a full resolution of the dispute related to the Manufacturing Agreement at

   issue in this case. In particular, both ROK and Benlida could continue to assert claims against

   CTX-HK in a second suit, with a substantial risk of inconsistent results from any judgment in this

   case.

           Finally, the last enumerated factor, whether the plaintiff would have an adequate remedy

   if the action were dismissed for non joinder, weighs decisively in favor of dismissal. Benlida could



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   simply refile the same claims in Florida state court, with all the proper parties appropriately joined

   in the action. Pursuant to Section 13.4 of the Manufacturing Agreement, the parties have agreed

   that venue is proper in the Florida state courts of Miami-Dade County. [Ex. 1 at pg. 9, § 13.4].

   Although some litigants do understandably prefer the formality, structure, and efficiency offered

   by the federal courts, there is certainly no question that Florida’s Eleventh Judicial Circuit, in and

   for Miami-Dade County, is an adequate and appropriate forum for Benlida to have its day in court.

          Accordingly, this case should also be dismissed for non joinder pursuant to Rule 19 and

   Rule 12(b)(7).

                                             CONCLUSION

          For all of these reasons, CTX respectfully requests that the Court enter an Order granting

   this motion and dismissing this action pursuant to Rule 12(b) of the Federal Rules of Civil

   Procedure.



   Dated: April 12, 2021                                  Respectfully submitted


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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of
   Notices of Electronic Filing generated by CM/ECF on April 12, 2021 as filed with the Clerk of the
   Court using CM/ECF.                         By: /s/ Chauncey D. Cole IV___
                                                Chauncey D. Cole IV

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